       4:17-cv-02226-RBH         Date Filed 08/22/17        Entry Number 1    Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION

Mark H. Vance,                                        Civil Action No.

                         Plaintiff,

       vs.
                                                                NOTICE OF REMOVAL
Fred T. Combs, individually and as agent of
Unifirst Corporation, and Unifirst Corporation,

                         Defendants.




       Defendants Fred T. Combs and Unifirst Corporation (“Defendants”), pursuant to 28

U.S.C. §§ 1331, 1441, and 1446, hereby give notice of the removal of this action from the Court

of Common Pleas, Horry County, South Carolina to the United States District Court for the

District of South Carolina, Florence Division. As addressed below, this Federal Court has

original jurisdiction over this matter under 28 U.S.C. § 1331 because it “aris[es] under the

Constitution, laws or treaties of the United States”. In support of this removal, the Defendants

state as follows:

       1.      Plaintiff initiated this action on July 20, 2017 by filing a Complaint against Fred

T. Combs, individually and as agent of Unifirst Corporation, and Unifirst Corporation in the

Horry County Court of Common Pleas (the “state court action”). The state court action was

assigned docket no. 2017-CP-26-04574. Service was effectuated on Unifirst Corporation by

certified mail on July 24, 2017. On information and belief, Mr. Combs has not been served. The

Horry County Court of Common Pleas is a state court within this judicial district and division.




                                                  1
       4:17-cv-02226-RBH          Date Filed 08/22/17     Entry Number 1         Page 2 of 4




The complete state court file, including copies of all process, pleadings and orders served upon

Defendants is attached collectively as Exhibit A.

       2.      This action is removable under 28 U.S.C. § 1441(b) because this Court has

original jurisdiction over this action under 28 U.S.C. § 1332 because this action arises between

citizens of different states and the amount in controversy exceeds $75,000.00.

       3.      Specifically, the Defendant Combs is a resident of the State of Virginia and

Defendant Unifirst is a corporation organized and existing under the laws of the State of

Massachusetts.

       4.      In addition to satisfying the requirements of federal diversity jurisdiction,

Defendants have satisfied all other requirements for removal.

       5.      The time within which Defendants are permitted to remove this action under 28

U.S.C. § 1446(b) has not expired as the time of the filing and service of this Notice of Removal.

Defendants have filed this Notice of Removal within thirty (30) days after it received a copy of

the Complaint on July 24, 2017.

       6       In accordance with 28 U.S.C. § 1446(a), the complete state court file, including

copies of all process, pleadings, and orders served upon Defendants, is attached hereto

collectively as Exhibit A.

       7.      Removal to this district and division is proper under 28 U.S.C. § 121(3) because

this district and division embraces the Horry County Court of Common Pleas, the forum in

which the removed action was pending.

       8.      In accordance with 28 U.S.C. § 1446(d), Defendants promptly will provide

written notice of the filing of this Notice of Removal to the Plaintiff and shall file a copy of this




                                                 2
       4:17-cv-02226-RBH         Date Filed 08/22/17      Entry Number 1        Page 3 of 4




Notice along with an Acknowledgment of Receipt of Notice of Removal with the Clerk of the

Horry County Court of Common Pleas, where this action is currently pending.

       9.      Defendants submit this Notice of Removal without waiving any defenses to the

claims asserted by Plaintiff or conceding that Plaintiff has plead claims upon which relief can be

granted. Defendants specifically reserve the right to assert, if applicable, any and all defenses

enumerated under Rule 12 of the Federal Rules of Civil Procedure or any other affirmative

defenses, including those enumerated in Rule 8(c) of the Federal Rules of Civil Procedure, upon

the filing of its responsive pleadings within the time allotted under the Federal Rules of Civil

Procedure.

       10.     This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of

Civil Procedure. A copy of the Civil Coversheet is attached hereto.

       11.     Defendants have complied with the requirements of Rules 83.IV.01 and 83.IV.02

of the Local Civil Rules of the United States District Court for the District of South Carolina.

       12.     If any question arises regarding the propriety of the removal of this action,

Defendants respectfully request the opportunity to present a memorandum and oral argument in

support of the position that this case is removable and conduct discovery related to the facts that

support removal.

       WHEREFORE, Defendants give notice that the above-entitled action is removed from

the Court of Common Pleas, Horry County, South Carolina to the United States District Court

for the District of South Carolina, Florence Division.



                                    (signature page to follow)




                                                 3
      4:17-cv-02226-RBH    Date Filed 08/22/17   Entry Number 1      Page 4 of 4




                               Respectfully submitted,

                               GALLIVAN, WHITE & BOYD, P.A.



                               By:           s/ Gray T. Culbreath
                                      Gray T. Culbreath (Fed. ID #5647)
                                      gculbreath@gwblawfirm.com
                                      James E. Brogdon, III (Fed. ID #10872)
                                      jbrogdon@gwblawfirm.com
                                      1201 Main Street, Suite 1200 (29202)
                                      Post Office Box 7368
                                      Columbia, South Carolina 29201
                                      (803) 779-1833
                                      (803) 779-1767 (f)

                                      ATTORNEYS FOR DEFENDANTS

Columbia, South Carolina
August 22, 2017




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